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                                                                      FILED
                                                                        JUL 2 0 2018
                IN THE UNITED STATES DISTRICT COURT                  Clen<. u.s District Court
                    FOR THE DISTRICT OF MONTANA                         District Of Montana
                                                                            Great Falls
                        GREAT FALLS DIVISION


DEFENDERS OF WILDLIFE, and                    CV-15-14-GF-BMM
NATURAL RESOURCE DEFENSE
COUNCIL
Plaintiffs,                                               ORDER

vs.

UNITED STATES ARMY CORPS OF
ENGINEERS; UNITED STATES
BUREAU OF RECLAMATION; and
UNITED STATES FISH AND
WILDLIFE SERVICE,
Defendants
 and
LOWER YELLOWSTONE
IRRIGATION PROJECT BOARD OF
CONTROL, SA VAGE IRRIGATION
DISTRICT, and INTAKE
IRRIGATION DISTRICT
Defendant-Intervenors .



                               I. BACKGROUND

       This matter comes to the Court following an Order from the Ninth Circuit

that dissolved a preliminary injunction imposed by the Court on July 15, 2017.

(Doc. 185.) The United States Fish and Wildlife Service ("FWS") listed pallid

sturgeon as endangered in 1990. 55 Fed. Reg. 36,641. The largest wild pallid
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sturgeon population in the world exists on the Missouri River between the Fort

Peck Dam and Lake Sakakawea. Fewer than 125 wild pallid sturgeons remain.

NBOROOOOOI8. The presence of the Fork Peck Dam on the Missouri River and the

Intake Dam on the Yellowstone River account, in large part, for this decline.

NBOR0000024. The Intake Dam sits approximately seventy miles upriver from the

confluence of the Yellowstone River and the Missouri River. These two barriers

prevent the pallid sturgeon from swimming far enough upriver to spawn

successfully.

      After spawning, the pallid sturgeon larvae drift while they are developing.

NBOROOOOO16-17. The drift distance can range from 152 to 329 miles. /d. The

lower oxygen levels found in a lake environment significantly decrease pallid

sturgeon survival rates. NUSACEOOI5437-38. Larvae hatched below the Intake

Dam lack sufficient "drift distance" to develop before they reach the lower oxygen

levels in the water of Lake Sakakawea. Id. The larvae would have the opportunity

to develop sufficiently before they reached Lake Sakakawea if pallid sturgeon

could spawn upstream of the Intake Dam. This extra development time likely

would render the pallid sturgeon able to swim and thereby remain in the more

hospitable river environment.

      The Corps operates the Fort Peck Dam. NUSACE0037198. The Corps

possesses discretionary control over the operation of Fort Peck Dam for multiple


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purposes, including flood control, irrigation, hydropower generation, recreation,

and management of fish and wildlife. Id. The Corps has completed two formal

consultations with FWS that address the impacts of the agency's Fort Peck Dam

operations on pallid sturgeon. The first consultation occurred when FWS issued a

biological opinion ("2000 BiOp"). NUSACE0028982-290 14.

        The 2000 BiOp determined that the Corps's operation at Fort Peck Dam

likely would jeopardize pallid sturgeon by precluding the species from successfully

reproducing in the wild. Id. The 2000 BiOp provided reasonable and prudent

alternatives ("RPAs"), as required by the ESA, that if implemented would have

allowed the Corps to comply with the ESA. The Corps failed to implement these

RPAs.

        FWS issued an amended BiOp in 2003 ("2003 BiOp"). NUSACE26256­

553. FWS concluded again that the Corps's Fort Peck Dam operations jeopardize

the pallid sturgeon. NUSACE0026423-24. The 2003 BiOp prescribed a series of

RPAs that would have allowed for compliance with the ESA. NUSACE0026464­

86. The Corps again failed to implement the essential elements ofthese RP As. The

Corps and FWS re-initiated consultation on the Fort Peck Dam operations for a

third time in 2015. NBOROOOOOll.

        The Bureau operates Intake Dam and oversees the four irrigation districts

known as the Lower Yellowstone Irrigation Project ("LYP"). NBOR0014429. The


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Intake Dam consists of a wood structure topped with rocks along the crest. The

existing weir requires nearly annual replacement of rocks on the crest to hold back

sufficient water to service irrigation needs. NBOROOI4514-15. The Bureau

accomplishes this task currently with a series of large buckets transported on

cables above the river. Id.

      The Bureau and the Corps adopted a plan in 2010 to construct a new

permanent concrete diversion dam, a rock-lined ramp over the dam for pallid

sturgeon passage, and a new headworks facility with fish screens to reduce the

entrainment offish in the irrigation canal. NBOR0004779. The Bureau and the

Corps constructed the new headworks facility in 2012. NBOR0017165. The

Bureau and the Corps abandoned the plan to build the concrete dam with a rock

ramp, however, primarily due to costs.

      The Bureau and the Corps ultimately identified the construction of a new

dam and artificial bypass channel as the preferred solution ("the Project"). The

Bureau and the Corps intend to spend $57 million to replace the existing wood and

rock weir at Intake Dam with a concrete weir to ensure continued irrigation water

to the 56,800 acres currently serviced by Intake Dam. NBOR0014527-28.

      Five pallid sturgeons successfully used a natural side channel around the

existing weir in 2014 during unusually high water. NBOR0000033-34, 38. Federal

Defendants decided that a new bypass channel, which would have sufficient flow


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all the time, provided the best option to allow pallid sturgeon to navigate around

the proposed concrete weir. NBOROO 12310.

                             II. PROCEDURAL HISTORY

      Plaintiff Defenders of Wildlife filed their initial Complaint in February of

2015. (Doc. 1.) The Court granted Plaintiff's Motion for Preliminary Injunction on

September 4, 2015, to enjoin Federal Defendant agencies ("Federal Defendants")

from initiating construction on the Project. The Court ordered Federal Defendants

to complete an Environmental Impact Statement ("EIS"). (Doc. 73.) The Court

specifically emphasized the need for Federal Defendants to analyze recovery of

pallid sturgeon and whether the Project would prevent recovery. The Court also

identified the need for Federal Defendants to analyze whether the Project would be

successful in providing passage past the Intake Dam for pallid sturgeon.

      Federal Defendants completed an EIS and issued a biological opinion

("BiOp") in Fall of2016, and issued a Record of Decision ("ROD") on December

2,2016, in response to the Court's order. (Doc. 101 at 9.) The Court dissolved the

preliminary injunction on April 19,2017. (Doc. 118.) The Court also granted

Plaintiffs Motion for Leave to file a Fourth Supplemental Amended Complaint.

Id.

      Federal Defendants' new National Environmental Policy Act ("NEPA")

decisional documents-the 2016 EIS and the 2016 ROD-sufficiently corrected


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the Federal Defendants' NEPA violations at the heart of the original preliminary

injunction. (Doc. 118.) Plaintiff filed a Fourth Supplemental Amended Complaint

on April 20, 2017, that incorporated challenges to Federal Defendants' 2016 NEPA

and ESA documents. (Doc. 119).

      The Court granted Plaintiffs Motion for a Preliminary Injunction to halt the

construction related to the Project and preserve the status quo on July 5, 2017.

(Doc. 155.) The Court reasoned that Plaintifflikely would succeed on the merits

for their ESA, NEPA, and CWA claims as contained in their Fourth Supplemental

Amended Complaint. The Ninth Circuit subsequently vacated this second

preliminary injunction on April 4, 2018. (Doc. 185.)

      The Ninth Circuit determined that this Court improperly considered the

harm caused by the "continued operation of the existing weir" in its assessment of

the irreparable harm attributable to the Project. Id. at 3. This Court wrongly flipped

the burden to require that the Corps prove that the Project would allow successful

pallid sturgeon passage rather than require that Plaintiff prove irreparable harm. Id.

at 4. The Ninth Circuit further determined that this Court lacked any basis to

conclude that Plaintiff had established a likelihood of success on the meri ts ofits

claims under the ESA, NEP A, and the CWA. Id.

      Plaintiff brings its current Motion for Summary Judgment on the basis of

Claims 1,2,4,5, and 11-14 of the Fourth Supplemental Amended Complaint.


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Claims 1 and 2 challenge the decade-long operations of the Fort Peck Dam by the

Corps in violation ofthe ESA. Claims 4 and 5 challenge the decade-long

operations of the Intake Dam by the Bureau in violation ofthe ESA. Claim II

challenges the Corps's and the Bureau's 2016 EIS and ROD for violations of

NEPA. Claim 12 challenges FWS's 2016 BiOp for violations ofthe ESA. Claim

13 challenges the Corps's and the Bureau's reliance on the 2016 BiOp for

violations of the ESA. Claim 14 challenges the Corps's 2016 CWA approval ofthe

Project.

                            III. LEGAL STANDARD

      A court should grant summary judgment where the movant demonstrates

that no genuine dispute exists "as to any material fact" and the movant is "entitled

to judgment as a matter of law." Fed. R. Civ. P. 56(a). Summary judgment remains

appropriate for resolving a challenge to a federal agency's actions when review

will be based primarily on the administrative record. Pit River Tribe v. Us. Forest

Serv., 469 F.3d 768, 778 (9th Cir. 2006).

      The Court reviews NEPA, ESA, and CW A compliance through the

Administrative Procedures Act ("AP A"). Native Ecosystems Council v. Dombeck,

304 F.3d 886, 891-91 (9th Cir. 2002); Friends ofthe Earth v. Hintz, 800 F.2d 822,

830-31 (9th Cir. 1986). The APA instructs a reviewing court to "hold unlawful and




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set aside" agency action deemed "arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with Jaw." S US.c. § 706(2)(A).

      APA review requires the Court to consider whether an agency based a

particular decision on "consideration of the relevant factors." Citizens to Pres.

Overton Park, Inc. v. Volpe, 401 US. 402, 416 (\971) (citations omitted). This

inquiry must be "thorough," "probing," and "in-depth." Jd. at 41S. The Court

generally must defer to the judgment of the agency. League of Wilderness Defs.­

Blue Mountains Biodiversity Project v. Us. Forest Serv., S49 F.3d 1211, 121S (9th

Cir.2008).

          The Court should reverse a decision as arbitrary and capricious only where

"a clear error ofjudgment" has occurred. Id. This "clear error ofjudgment" may

entail the following scenarios: I) the agency's reliance on factors "Congress did

not intend [for] it to consider;" 2) the agency's failure to "consider an important

aspect of the problem;" 3) the agency's explanation "runs counter to the evidence"

or "is so implausible that it could not be ascribed to a difference in view or the

product of agency expertise." Id.

                                    IV. ANALYSIS

   A. 	     FWS's 2016 BiOp and Incidental Take Statement ("ITS") for the
            Project does not violate the ESA.

      The ESA serves as a safety net for species at risk of extinction and facilitates

the recovery of imperiled species. 16 U.S.c. § IS31(b). Section 7(a)(2) requires
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federal agencies, in consultation with the expert wildlife agency, to ensure that

"any action authorized, funded, or carried out by such agency" is not likely to

jeopardize the continued existence of any endangered or threatened species or

result in the destruction or adverse modification ofthe species' designated "critical

habitat." 16 U.S.C. § 1536(a)(2), (4). To jeopardize a species means to "reduce

appreciably the likelihood of both the survival and recovery of a listed species in

the wild by reducing the reproduction, numbers, or distribution of that species." 50

C.F.R. § 402.02.

      The ESA requires a consultation process that results in FWS issuing a

biological opinion ("BiOp"). The BiOp details whether the proposed federal action

likely would cause jeopardy and identifies RPAs. 16 U.S.c. § 1536(b)(3)(A).

RPAs encompass those actions that FWS "believes would not violate section

7(aX2) and can be taken by the federal agency in implementing agency actions."

16 U.S.C. § 1536(b)(3)(A).

      Section 9 prohibits any person from "taking" members of an endangered

species offish or wildlife. 16 U.S.C. § 1538(a)(1)(B). "Take" means to "harass,

harm, pursue, hunt, shoot, wound, kill, trap, capture, or collect, or to attempt to

engage in any such conduct." 16 U.S.C. § 1532(19). The first part ofESA

consultation requires the agency to work with FWS to produce a BiOp that

concludes whether the proposed action would cause jeopardy. This BiOp may


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determine, however, that the agency's proposed action could result in incidental

take of listed species.

      The consulting agency, in this case, FWS, must issue an ITS to the action

agency. The ITS formulates the extent oftake, or, in the alternative, a surrogate for

triggering re-initiation of consultation between the agency and FWS. 16 U.S.c. §

l536(b)( 4). The ITS exempts the take from Section 9 liability when two conditions

have been fulfilled: the proposed federal action must result in take that remains

incidental to the proposed action and the terms and conditions of the ITS have been

fulfilled. 16 U.S.C. §§ 1536(b)(4); (0)(2).

         i. 	 FWS analyzed whether a take of fifty-nine percent of adult pallid
             sturgeon approaching the Project would jeopardize the species.

      Plaintiff argues that the mop fails to evaluate the impact of the fifty-nine

percent take of adult pallid sturgeon that would reach the Project each year. (Doc.

173 at 51.) Plaintiff further argues that the BiOp fails to analyze whether the

Project likely would jeopardize the species if that level oftake occurs. Plaintiff

argues that this omission by FWS likens the case to Southwest Center for

Biological Diversity v. Bartel, 470 F.Supp.2d 1118, 1155 (S.D. Cal. 2006). The

district court in Bartel deemed the BiOp unlawful where the BiOp recognized a

twelve percent take for two endangered fair shrimp species, but failed to evaluate

whether the species could withstand a loss of that magnitude. Id.



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       This Court previously found "unavailing" Federal Defendant's citations to a

BiOp that purportedly analyzed the impact of the authorized take limit. (Doc. 155

at 10.) The first BiOp citation described FWS's reasoning for choosing the fifty­

nine percent take figure and explained that FWS anticipated more successful

passage. fd. The second BiOp citation referred to the jeopardy finding without any

reference to the fifty-nine percent take authorization. !d. This Court determined

that softening the requirements of the jeopardy analysis on the basis that the ITS

included an overestimate of take did not make for sound public policy. !d. at 11.

This type of analysis would encourage agencies always to overestimate take in the

ITS. fd.

       The Ninth Circuit disagreed. The Ninth Circuit determined that FWS had

articulated a "reasoned basis for the no-jeopardy finding in its Biological Opinion."

(Doc. 185 at 5.) The Ninth Circuit further determined that the "agency's approved

incidental take represents a substantial reduction in the impairment of breeding

caused in the project's absence." fd. The Ninth Circuit recognized that analysis of

the ITS and identification of a recovery goal sometimes may be needed to explain

the reasoned basis for an agency's no-jeopardy finding. fd. The Ninth Circuit

determined, however, that the Project required no such analyses. fd. The Ninth

Circuit also determined that this Court committed legal error when it treated the




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absence of a specific ITS analysis and the failure to identifY a quantifiable recovery

goal as technical deficiencies that precluded a no-jeopardy finding in the BiOp.ld.

      Federal Defendants contend that Plaintiff fails to recognize that FWS

already had concluded that the Project, including the post-construction adverse

effect of blocked passage, remained not likely to jeopardize pallid sturgeon. FWS

identified two general post-construction effects associated with the bypass channel:

(I) a beneficial effect of allowing more pallid sturgeon to pass than would

otherwise occur under existing conditions; and (2) an adverse effect associated

with some pallid sturgeon not using the constructed bypass channel.

NBOR0000050. FWS acknowledged that the only infonnation about how many

pallid sturgeon would use the bypass channel dated from 2014.

      The ESA provides an explicit statutory sequence. The agency first must

determine whether adverse effects would jeopardize a species. 50 C.F.R. §

402.14(g). If the agency concludes the proposed action likely would not jeopardize

the listed species, the agency must consider the development of the ITS and the

surrogate trigger for reinitiating consultation. 16 U.S.C. § 1536(b)(4). The ITS

provides a "trigger" that when reached, results in an unacceptable level of

incidental take and requires the parties to reinitiate consultation. Arizona Cattle

Growers' Ass'n v. Us. Fish & Wildlife, 273 F.3d 1229, 1249 (9th Cir. 2001). FWS




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complied with this statutory sequence in fonnulating an ITS trigger of fifty-nine

percent for reinitiating consultation.

      FWS analyzed whether the Project, and specifically the post-construction

effects of the bypass channel, would jeopardize the pallid sturgeon before it

fonnulated its fifty-nine percent trigger in the ITS. NBOROOOOOSO. FWS

concluded that the Project, on balance, would not jeopardize the pallid sturgeon.

NBOR0000064. Plaintiff attempts to invert the statutory sequence. The ESA

imposes no obligation on FWS to perfonn a subsequent analysis on the ITS trigger.

16 U.S.C. § IS36(b)(4).

      FWS recognized in the BiOp that migrating pallid sturgeon would face both

beneficial and adverse effects from the Project when they encountered the bypass

channel. NBOROOOOOS8-S9, SO. FWS concluded, on the whole, that the proposed

bypass channel would provide more reliable passage than the current channel as

the existing channel often lacks sufficient flows to fill for passage during spawning

season. NBOR000002S. The Court in Bartel found arbitrary the inconsistencies

between the agency's expectation of no impact on the vernal pools and the design

of the City's plan that allowed from nine percent to fourteen percent direct impact

on vernal pools habitat. Bartel, 470 F.Supp.2d at 1148. Unlike in Bartel, FWS

acknowledges that the Project would present adverse effects to the pallid sturgeon




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population. FWS ultimately determined, however, that the Project on balance

"substantially improves the survival and recovery of the species." NBOR0000064.

       ii.FWS evaluated the Project's impact on the pallid sturgeon's
           survival and recovery.

      Federal Defendants must analyze project impacts on survival and recovery

of the species. Nat'[ Wildlife Fed'n v. Nat'[ Marine Fisheries Servo ("NWF J"),

524 F.3d 917, 931 (9th Cir. 2008). Plaintiff contends that FWS failed to identify a

benchmark against which FWS can gauge the Project's impacts. Wild Fish

Conservancy v. Salazar, 628 F.3d 513,527-28 (9th Cir. 2010). Plaintiff argues that

FWS merely speculated that the Project would be an "improvement." Plaintiff

contends that this assertion by Federal Defendants fails to address whether the

Project would place pallid sturgeon survival and recovery at risk.

      The Court determined in its preliminary injunction Order that Federal

Defendants failed to provide sufficient information to demonstrate that the Project

would improve a situation that they concede to be dire. The Court instructed

Federal Defendants to analyze whether the Project would improve the pallid

sturgeon's "plight to give it a chance at survival and recovery." (Doc. 155 at 16.)

The Court relied on National Wildlife Federation v. National Marine Fisheries

Service ("NWF II"), 184 F. Supp. 3d 861, 888 (D. Or. 2016), and NWF Hor the

assertion that the ESA requires a quantifiable recovery metric or goal.



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      The Ninth Circuit reversed on this point. The Ninth Circuit recognized that

identification of a "recovery goal may sometimes be needed to explain the

reasoned basis for an agency's no-jeopardy finding," but also concluded that such

analyses were not required in this case. (Doc. 185 at 5.) The Ninth Circuit stressed

that even though the BiOp did not identify a quantifiable recovery goal, the BiOp

adequately addressed the Project's overall positive impact on species recovery. [d.;

cl American Rivers v. Fed. Energy Regulatory Comm 'n, 2018 WL 3320810, at

*10 (D.C. Cir. 2018) (reversing renewal of license for hydropower dams based

upon FWS's failure to account for the impact of continued operations of the dams

in jeopardy analysis). The Ninth Circuit apparently interpreted Section 1(a)(2) as

remaining concerned with whether the action would cause too much harm, rather

than whether the action would improve a species' status. NWF J, 524 F.3d at 929­

30. Plaintiffs view conflicts with the regulatory definition of "jeopardize" under

this interpretation of Section 1(a)(2).

      The Ninth Circuit determined in NWF I that nothing in Section 1(a)(2)

consultation requires action agencies to recover a species. NWF J, 524 F.3d at 936.

The ESA instead requires "some attention to recovery issues" to provide

"reasonable assurance that the agency action in question will not appreciably

reduce the odds of success for future recovery planning, by tipping a listed species

too far into danger." Id. FWS's analysis in the BiOp leads to the conclusion that


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the proposed agency action provides a net positive for the pallid sturgeon. FWS

found that the pallid sturgeon's chance of survival and recovery likely would

increase once the Project has been completed. NBOR0000061. The Project does

not jeopardize the pallid sturgeon's "continued existence" in this context. 16

U.S.c. § 1536(a)(2).

       iii. 	 FWS supported its conclusion in the BiOp that the Project would
              represent an improvement to the likelihood of survival and
              recovery of the pallid sturgeon. FWS properly used the shovelnose
              sturgeon population to compare with the pallid sturgeon
              popUlation.

      Plaintiff contends that pallid sturgeon survival and recovery in the wild

remains impossible without recruitment. Plaintiff argues that FWS failed to

analyze the three specific steps for recruitment of the species: (1) whether adults

would actually use the Project to migrate upstream; (2) whether enough adult

pallid sturgeons would migrate upstream to produce sufficient larvae at locations

that would make survival possible; and (3) whether sufficient larvae would survive

the downstream drift. Plaintiff cites these shortcomings in the BiOp's analysis.

      Plaintiff next challenges what it considers the mop's arbitrary comparison

of the pallid sturgeon's larval survival during downstream drift to the shovelnose

sturgeon population. Plaintiff argues that the best available science indicates that

the shovelnose sturgeon do not compare to the pallid sturgeon due to significant

biological and behavioral differences. These differences include shovelnose


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sturgeon larvae requiring only 58-155 miles of river habitat for their downstream

drift. NUSACE0024394. Pallid sturgeon larvae, by comparison, require 150-330

miles of river habitat for their downstream drift. NUSACEOOl92 16.

      Federal Defendants argue that federal agencies do not have to guarantee

every stage ofthe pallid sturgeon lifecycle. See Ctr. for Biological Diversity v. Us.

Fish & Wildlife Serv., 807 F.3d 1031, 1052. There FWS entered a memorandum of

agreement with several non-federal entities who were subject to a Nevada State

Order regarding a ground water pumping project that had the potential to affect the

Moapa dace, an endangered fish species. The Ninth Circuit declined to broaden

FWS's obligations to ensure the survival of the Moapa dace in the face of state­

mandated ground water pumping. Id. The ESA instead required FWS to consider

"whether the action, taken together with the cumulative effects, is likely to

jeopardize the continued existence of the listed species." Id. The BiOp made clear

that the negative effects to the Moapa dace arose from state-mandated groundwater

pumping. FWS considered this groundwater pumping as part of the project's

cumulative effects outside the agency's controL Id.

      FWS analyzed whether the bypass channel would improve upstream

migration. NBOR0000048-50. The agencies specifically designed the bypass

channel with a bottom type preferred by the pallid sturgeon. Id. FWS determined

that the bypass channel would provide specific flow volumes for both passage and


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attraction. ld. FWS estimated that somewhere between forty-one percent and

eighty-five percent of motivated adult pallid sturgeon would use the bypass

channel. NBOR0000050. FWS acknowledged that significant uncertainty exists on

this point. NBOR0000053. FWS argues. however, that the biological parameters of

the bypass channel would allow motivated adults to migrate into the upper

Yellowstone River basin.ld. The ESA admittedly allows for some uncertainty.

Salazar, 606 F.3d at 1164. The existing scientific research does not allow FWS to

provide any more specificity or precision about where the pallid sturgeon would

spawn in the upper basin even if the Yellowstone River were to be restored to an

open river.

      Federal Defendants further argue that FWS reasonably concluded in the

BiOp that potential spawning habitats exist in the upper Yellowstone River basin.

FWS tracked the upstream migration of one female and four males in 2014. FWS

presumed that the female spawned in the Powder River, a tributary to the

Yellowstone River upstream of the Intake Dam. NBOR00000025. FWS

determined that sufficient numbers of pallid sturgeon would be motivated to spawn

into this available habitat if reliable passage were provided, especially considering

the historical population of pallid sturgeon. NBOR0000034. FWS further

determined that hatchery pallid sturgeon soon will become sexually mature and

naturally would seek out spawning opportunities. NBOR0000063. These factors


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support FWS's conclusion that the Project likely would improve the survival and

recovery of pallid sturgeon. Similar to Center for Biological Diversity, the Project

represents an improvement for pallid sturgeon and the Court will defer to the

findings of the BiOp. Ctr.for Biological Diversity, 807 F.3d at 1052.

      The small number of wild adult pallid sturgeon forces FWS to rely on the

shovelnose sturgeon as a surrogate to anticipate the effects to larvae and to create a

monitoring protocol. NBOR0000056-57. A surrogate by definition need not be

identical. Ctr.for Biological Diversity v. Bureau ofLand Mgmt., 698 F.3d 110 I,

1127 (9th Cir. 2012). The Ninth Circuit recognized that "various components of

the ecological landscape ... [can] be used as a surrogate for defining the amount or

extent of take if the conditions [are] linked to the take of the protected species." Jd.

      FWS acknowledged the differences between the shovelnose sturgeon and

pallid sturgeon. NBOR0000057. It remains reasonable for FWS to evaluate the

specific interaction between the existing weir and shovel nose sturgeon larvae to

provide some idea as to how a new weir might affect pallid sturgeon larvae as

these present similar interactions. NBOR0000057; Ctr. for Biological Diversity,

698 F.3d at 1127. The Court must defer to FWS's scientific judgment in choosing

to use the shovelnose sturgeon as a surrogate.




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       iv. 	 FWS evaluated the short-term impacts of the Project in the
             context of a rapidly declining pallid sturgeon population.

      Plaintiff argues that the Ninth Circuit continually has rejected BiOps that

ignore short-term effects and only examine whether long-term effects would be

beneficial. NWF 1,524 F.3d at 934-35. The Ninth Circuit in NWF I rejected a

biological opinion where it failed to consider the impacts of the project in the

context ofthe three-salmon species' short life cycles. Id.

      FWS conceded that no upstream passage would occur during construction of

the Project. NBOR0000062. Plaintiff contends that the long lifespan of pallid

sturgeon does not excuse the BiOps' failure to examine the short-term effects of

the Project. Plaintiff points to the fact that the few remaining wild pallid sturgeon

nearing the end of their lifespan remain at risk during construction of the Project.

Plaintiff further contends that no support exists that hatchery raised pallid sturgeon

can or would successfully reproduce. NBOR0000023.

      FWS considered the short-term adverse effects of continued maintenance of

the existing weir, possible interactions with the fish screens, as well as the adverse

effects caused by construction ofthe bypass channel. NBOR0000043-47. FWS

recognized that the existing high flow channel would need to be filled during

construction. NBOR0000047. This existing high flow channel provides only

occasional access for pallid sturgeon passage during the highest water years. In

fact, the record indicates that only a handful of pallid sturgeon have used the high
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flow channel in the past during perfect water conditions. Jd. FWS estimated that

the existing bypass channel would contain enough water for the pallid sturgeon to

use it, statistically speaking, during one year of construction of the new bypass

channel. Jd.

      FWS further estimated that about thirty-two adult wild pallid sturgeon would

be blocked from spawning by the construction ofthe Project. These pallid sturgeon

represent approximately twenty-six percent of the current adult wild population.

FWS considered this blockage to constitute a "temporary, but significant

impairment of breeding and is considered an 'injury' to the sturgeon."

NBOR0000058. The impairment represents the status quo, however, as it does not

actually change the current reproduction, numbers, or distribution of pallid

sturgeon in the action area. Jd.

      The ESA further contemplates artificial propagation to conserve or recover

listed species. 16 U.S.C. § 1532(a). The Ninth Circuit has recognized that hatchery

fish appropriately may be considered under the ESA. Trout Unlimited v, Lohn, 559

FJd 946, 955 (9th Cir. 2009). National Marine Fisheries Service ("NMFS") in

Lohn rejected petitions filed by Trout Unlimited that sought to split natural and

hatchery fish into separate evolutionarily significant units ("ESU"), or in other

words, species. Jd. at 953. The Ninth Circuit disagreed.




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      The ESA required NMFS to "detennine whether any species is an

endangered species or a threatened species." 16 U.S.C. § 1533(a)(l). A species, in

turn, includes "any subspecies offish or wildlife or plants, and any distinct

population segment." 16 U.S.C. § 1532( \6). The Ninth Circuit concluded that

review of the entire ESU remained consistent with the ESA's overall focus on

preserving natural populations. Lohn, 559 F.3d at 958. Federal Defendant likewise

reasonably relied on the hatchery pallid sturgeon when considering the short-tenn

effects ofthe Project as hatchery fish appropriately may be considered under the

ESA. Id. The Ninth Circuit detennined, in reversing the Court's preliminary

injunction Order, that "the agency articulated a reasoned basis for the no-jeopardy

finding in its BiOp." (Doc. 185 at 5.) This no-jeopardy finding contemplated

hatchery fish.

        v.   FWS issued a lawful ITS under the statute and regulations.

      FWS's regulations expressly provide for the use of another species to serve

as a surrogate in the ITS. 50 C.F.R. § 402.14(i)(1 )(i). FWS's ITS recognizes that if

the Project were constructed and pallid sturgeon spawn successfully upstream,

larvae produced by this spawning may be killed or injured at the Project site during

the drift downstream. FWS relies on a surrogate, the shovelnose sturgeon, to

measure the allowable take and provide a trigger for re-initiation of consultation.




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      No pre-existing data exists for FWS to analyze. FWS cannot measure the

number of pallid sturgeon larvae drifting down the river after the Project's

completion to determine whether the concrete weir would present a larger impact

on take than otherwise would occur. To monitor the shovelnose sturgeon surrogate,

FWS required the Bureau to "establish a rate of occurrence, injury and death from

the screens and new weir structure." NBOR0000069. The Bureau will continue to

monitor for shovelnose and pallid larva after completion of the Project. [d. From

this data the Bureau will compare the rate of occurrence, injury, and death for

pallid and shovelnose larvae. [d. The level of exempted take would be exceeded if

there proves to be a "statistically significant deviation in the survival, death or

injured rates between pallid and shovelnose" larva. The Bureau would be required

to reinitiate consultation under these circumstances. [d.

      Plaintiff argues that FWS failed to set a clear standard for determining when

the level oftake has been exceeded and provided no meaningful trigger for the re­

initiation of consultation. Plaintiff contends that FWS's reliance on the shovelnose

sturgeon as a surrogate proves unlawful as the surrogate does not measure

accurately the effects of take on the pallid sturgeon population. Plaintiff suggests

that FWS has failed to support its conclusion that the shovelnose sturgeon remains

adequately linked to the pallid sturgeon. Plaintiff further argues that a clear




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violation of the ESA occurs when the ITS allows take of all adult pallid sturgeon

during construction of the Project.

      Re-initiation of consultation "is required ... if new information reveals

effects of the action that may affect listed species ... in a manner or to an extent

not previously considered." 50 C.F.R. § 402.l6(b). The best available data

suggests, and FWS agrees, that there would be only a "very small level of

mortality" of pallid sturgeon larvae. NBOR0000052. As a result of this

assumption, re-initiation would be triggered if monitoring demonstrates that 100

percent, or even a significant number ofiarvae, are killed by the Project. 50 C.F.R.

§ 402. 16(b). FWS lawfully may use a surrogate. Ctr.for Biological Diversity, 698

F.3d at 1127. In the absence of data regarding pallid sturgeon larvae it proves

reasonable that FWS used the shovelnose sturgeon as a surrogate to determine

whether the Project would cause take of pallid sturgeon larvae at the weir beyond

the very small amount of mortality currently contemplated. Id.

      The ITS identifies that adult pallid sturgeon take may occur during the

construction phase. NBOR0000067. FWS estimates that up to thirty-two pallid

sturgeon would be taken in the form of harm by injury through impairment of

reproduction. /d. FWS included the trigger for this form of take. Id. The thirty-two

pallid sturgeon will be represented by a percentage of the telemetered population.

Id. The tagging effort of wild pallid sturgeon for telemetry data continues each


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year as part of ongoing monitoring. NBOR0000044. On average thirty-six percent

of the wild pallid sturgeon population are telemetered. Id. FWS assumed that up to

twenty-six percent of the telemetered population could be detected at the Intake

Dam in any given year. A detected portion of the telemetered population at the

weir greater than twenty-six percent would mean that a larger portion ofthe

population proves present and are impeded from passing above the weir. Id. Re­

initiation would be triggered in this scenario. The Court will defer to FWS in

providing the trigger in the ITS for re-initiation.

   B. 	   The Bureau's and the Corps's reliance on the BiOp to authorize the
          Project did not violate their ESA section 7 substantive duty.

      Plaintiff argues that the Bureau and the Corps possess an independent duty

to ensure that their actions likely would not to jeopardize pallid sturgeon. Plaintiff

contends that the Bureau and the Corps knew of the deficiencies in the BiOp and

that independent biologists repeatedly have raised significant concerns about the

Project's ability to provide for pallid sturgeon survival and recovery.

      A federal agency may not evade its responsibility to ensure that its actions

will not jeopardize a listed species. Pyramid Lake Paiute Tribe ofIndians v. Us.

Dep'! ofNavy, 898 F.2d 1410, 1415 (9th Cir. 1990). An agency's decision to rely

on a biological opinion must not be arbitrary or capricious. Id. An agency's

reliance on a biological opinion will satisfy its obligation under the ESA, however,

even ifthe agency bases the biological opinion on "admittedly weak" information,
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as presented here, if the challenging party can point to no new information that

undermines the biological opinion's conclusions. Id.

      For instance, the Pyramid Lake Paiute Tribe ofIndians ("Tribe") brought an

action against the Department of Navy ("Navy"). The Tribe alleged that the Navy's

practice ofleasing acreage and contiguous water rights to local farmers threatened

the continued viability of the cui-ui, a rare fish species, in violation of the ESA.

The Ninth Circuit determined that the Navy had not arbitrarily or capriciously

relied on the "admittedly weak" biological opinion as the Tribe had failed to put

forth any new information that FWS should have considered in rendering the

biological opinion. Id. at 1416.

       The Court recognizes that significant deficiencies exist in the BiOp,

particularly with regard to its "admittedly weak" information on whether pallid

sturgeon actually would use the proposed bypass channel. Similar to Pyramid

Lake, however, Plaintiff has pointed to no new information that demonstrates that

the Bureau's and Corps's actions proved arbitrary and capricious. Id. Plaintiff

possesses the affirmative burden to establish a violation of Section 7(a)(2) ofthe

ESA to demonstrate that the Bureau and the Corps are jeopardizing a listed

species. Plaintiff may not simply perceive deficiencies in the BiOp.

      Plaintiff has failed to carry the burden contemplated in Pyramid Lake. The

continued existence of the weir remains exempt from the Plaintiffs ESA challenge


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to the Project. (Doc. 185 at 3.) This exemption means that Plaintiff cannot rely on

the current weir to demonstrate that the agencies' actions would jeopardize pallid

sturgeon. The Corps and the Bureau are attempting to implement a high priority

action that furthers the recovery of pallid sturgeon. Plaintiff has failed to

demonstrate how this action would jeopardize the listed species beyond its current

dire circumstance. Pyramid Lake, 898 F .2d at 1415.

   C. 	   The Bureau's and the Corps's ROD and EIS for the Project does not
          violate NEPA.

      NEP A mandates no particular result. It simply prescribes necessary

processes that the federal agencies must follow when contemplating a major

federal action. Vt. Yankee Nuclear Power Corp. v. Nat. Res. Del Council, 435 U.S.

519, 558 (1978). NEPA requires federal agencies: (1) to take a "hard look" at the

environmental impacts of their proposed actions, and (2) to ensure transparency by

providing a mechanism for the public to learn about and comment on the impacts

of a proposed action. Robertson v. Methow Valley Citizens Council, 490 U.S. 332

(1989). Agencies must prepare an EIS for any "major federal actions significantly

affecting the quality of the human environment." 42 U.S.C. § 4332(2)(C). The

Court previously determined that Federal Defendants had failed in this duty when

it ordered Federal Defendants to complete an E1S. (Doc. 73).

      Plaintiff argues that the agencies once again have failed in the EIS to present

the public with a clear, meaningful, and candid comparison between the
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environmental consequences of the Bypass Channel and the Multiple Pumps

Alternatives. Plaintiff relies heavily on this Court's previous conclusion that

Plaintiff remained likely to prevail as the EIS obscured the differences between the

impacts of the Multiple Pumps and the Bypass Channel Alternatives. (Doc. 155 at

24.)

       The Ninth Circuit in Center for Biological Diversity v. US. Department of

Interior ('fCBD"), 623 F.3d 633, 645 (9th CiL 2010), determined that an EIS

proved insufficient when it equated the environmental impacts of transferring

ownership of public land to a mining company with the impacts of keeping

ownership in the hands of the federal government. Id. at 636. CBD makes clear that

an agency violates NEP A when it arbitrarily reaches a conclusion without

analyzing a critical distinction between two proposed alternatives. Id.

       Federal Defendants argue that Plaintiff focuses on a single summary table,

Table 2-39, in construing this claim. Federal Defendants contend that this table

presents a qualitative comparison of the impacts of the different alternatives.

Federal Defendants argue that the comments provided by the public throughout the

process demonstrate that the agencies satisfied their obligation to provide candid,

accurate information regarding the effects of the proposed alternatives.

       The Ninth Circuit concluded that this Court's analysis failed to support its

arbitrary and capricious finding in issuing the preliminary injunction. (Doc. 185 at


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6.) The Ninth Circuit cites the agencies' analysis of the differing environmental

consequences ofthe Bypass Channel and the Multiple Pumps Alternative. The

Ninth Circuit detennined that the agencies in this case perfonned the appropriate

analyses. [d. As such, the standard from CBD does not appear to apply in this

situation.

      The FEIS, as a whole, proved adequate for Plaintiff and the public to

identify and understand the differences among the alternatives being studied. The

FEIS further proved to be adequate for Plaintiff and the public to fonnulate their

objections as evidenced by the public comments submitted. The Bureau's and the

Corps's ROD and EIS for the Intake Project does not violate NEPA.

   D. 	      The Corps selected the Bypass Channel Alternative in accordance
             with the Section 404(b)(1) Guidelines.

      The CW A prohibits the Corps from issuing a § 404(b) pennit for projects

that involve the discharge of dredged or fill material into waters of the United

States if a Jess damaging practicable alternative exists. 40 C.F.R. § 230JO(a).

Practicable alternatives must be "available and capable of being done after taking

into consideration cost, existing technology, and logistics in light of overall project

purposes." 40 C.F.R. § 230.10(a)(2). To compare the impacts of practicable

alternatives, the Corps must analyze specific categories of aquatic ecosystem

impacts, including impacts to ESA-listed species. 40 C.F.R. § 230.11.



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      Plaintiff argues that the Corps's CWA analysis of the Project's aquatic

ecosystem impacts applied the wrong standard under 40 C.F.R. § 230.10(a} by not

comparing practicable alternatives. (Doc. 173 at 83.) Plaintiff contends that the

Corps instead arbitrarily assumed that the Bypass Channel "has a similar scale of

environmental impacts as the other alternatives." Jd.; NBOROOI8659. Plaintiff

contends that Multiple Pumps Alternative represents the least environmentally­

damaging alternative as it would provide a more beneficial impact on aquatic

biological characteristics by restoring a free-flowing, natural Yellowstone River.

(Doc. 173 at 84.)

      Plaintiff contends that the Corps must disapprove the Project absent a

determination that the less invasive Multiple Pumps Alternative would be

impracticable. See Utahnsfor Better Transp. v. US. Dep'tofTransp., 305 F.3d

1152, 1187 (lOth Cir. 2002). The Corps determined that the Bypass Channel would

be more practicable than the MUltiple Pumps Alternative in light of the extra costs

of construction and annual maintenance associated with the Multiple Pumps

Alternative. Plaintiff contends that the relevant CWA standard does not

contemplate inquiry into the relative practicalities of alternatives. Del. Riverkeeper

v. Us. Army Corps ofEng'rs, 869 F.3d 148, 159-60 (3d Cir. 2017).

      Federal Defendants counter that Plaintiff misstates the Project's "overall

purpose." This misstatement improperly tips the scales against an objective


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assessment of the Corps's application of the Guidelines. Sylvester v. Us. Army

Corps ofEng'rs, 882 F.2d 407, 409 (9th Cir. 1989). Federal Defendants contend

that the Corps must consider the Project's overall objectives when applying the

Guidelines' "practicable alternative" analysis. The purpose ofthe proposed action

remains "to improve fish passage for pallid sturgeon and other native fish at Intake

Diversion Dam, continue the viable and effective operation of the L YP, and

contribute to ecosystem restoration." NBOROOI8642. The Corps determined that

the Multiple Pumps Alternative does not represent a "practicable alternative" that

would have a less adverse impact on the aquatic ecosystem when considered

against the Project's overall objectives. These overall objectives include the

continued viable and effective operation of the LYP.

      The Multiple Pumps Alternative would improve passage for the pallid

sturgeon. It remains in doubt, however, whether the Multiple Pumps Alternative

would satisfy the Project's purpose of "continuing the viable and effective

operation of the L YP." The Corps's CWA Analysis detennined the Multiple

Pumps Alternative's practicability to be "highly questionable" as a result of its

inherently complicated design of gravity combined with pumps that require

"highly precise timing on the startup and shutdown of each pump."

NUSACE0004921, NUSACE0006644. The Corps and the Bureau concluded that

using the MUltiple Pumps Alternative design would result in pumping volumes that


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"will be highly variable from year to year" and that the "risk of [canal] bank

failures would increase due to the multiple locations of pumped inflows" and the

attendant need for additional monitoring and coordination. Id.

       The Corps applied the Guidelines and identified concerns over the Multiple

Pumps Alternative's impacts on the economic viability of the L YF. The Multiple

Pumps Alternatives involved an estimated cost of construction of$132 million.

The expected cost of maintenance would be $4.9 million per year. These higher

construction and maintenance costs could have a direct impact on its

"practicability." These costs also may undermine the Project's overall purpose

when considering the viable and effective operation ofthe L YF.

       The Ninth Circuit in Hintz, 800 F.2d at 833, reviewed a CWA § 404 permit.

The Army Corps of Engineers issued a CWA § 404 permit that authorized a

landowner to fill a seventeen-acre area as part of its sawmillliog export complex.

The landowner listed two other practicable alternative sites for its sorting yards.

The landowner argued, however, that either of the alternative sites would include

substantial additional costs. Id. at 833. The Ninth Circuit upheld the Corps's

determination that "no practicable alternative existed" considering the "substantial

additional costs" and complex logistics associated with the project. Id.; 40 CoF .R. §

230. lO(a)(2) ,




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      The Ninth Circuit similarly determined in Jones v. National Marine

Fisheries Service, 741 F.3d 989, 1001 (9th Cir. 20l3), that an agency may consider

a project's economic requirements to determine whether alternative sites would be

practicable. The Corps may not allow the present unavailability of sufficient

financial resources, however, to be the main determinant to a finding of

impracticability. Nat 'I Wildlife Fed'n v. Adams, 629 F.2d 587, 593 (9th Cir. 1980).

The Ninth Circuit in this matter determined that the Corps expressly found that no

practicable alternative to the proposed project existed that would have a less

adverse impact on the sturgeon populations. (Doc. 185 at 7.) The Ninth Circuit

further determined that ample evidence in the record provided support for the

determination that no practicable alternative existed. Id.

      The Corps, in conducting the CW A analysis, must compare the impacts of

practicable alternatives, including analyzing specific categories of aquatic

ecosystem impacts. 40 C.F.R. § 230.11. The Corps correctly completed this

analysis even though the Multiple Pumps Alternative had been designed only to a

conceptual level at the time of the PElS. This analysis proved sufficient in light of

the agencies having applied the Corps's cost estimating guidance to update project

prices, "adopted contingencies to reflect" the incomplete data associated with each

alternative's design stage, and "attempted to maintain similar assumptions across

all five alternatives." NUSACE0006262; NUSACE0006271.


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   E. 	   The Bureau ensured tltat its existing operation of the Intake Dam did
          not jeopardize the pallid sturgeon.

      Plaintiff argues that the Bureau's continued operation of the Intake Dam,

specifically the yearly rocking, violates the Bureau's independent, substantive duty

under ESA section 7 to ensure that its actions do not jeopardize listed species.

Plaintiff contends that the evidence accumulated over more than two decades

proves that the Intake Dam operations prevent pallid sturgeon from successfully

reproducing in the Yellowstone River. Plaintiff argues that the Bureau improperly

takes pallid sturgeon through its ongoing operation ofthe Intake Dam without a

valid ITS by preventing the pallid sturgeon from breeding upstream. The 2016

BiOp and ITS address only the ongoing operation of the Intake Dam in the context

of the BiOp's assumption that the Project would replace the existing dam. (Doc.

182 at 55.)

      The ESA must not be applied retroactively. Tennessee Valley Auth. v. Hill,

437 U.S. 153, 186 n. 32 (1978). The Ninth Circuit further has recognized that the

existence of a statutorily authorized dam, as opposed to the operation of a dam,

cannot violate a federal statute unless "a clear and manifest" intention remains to

repeal the prior Congressional authorization. Nat 'I Wildlife Fed'n v. Us. Army

Corps ofEng'rs, 384 F.3d 1163, 1178 (9th Cir. 2004). NWF contended that the

ROD arbitrarily and capriciously had distinguished between the Corps's operation

of the dams and the existence ofthe dams. The Ninth Circuit determined that
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review of the Corps's conclusions in the ROD did not extend to Congress's

decision to create the darns sixty years earlier. Id.

        It remains clear that no clear Congressional repeal occurred in this case. The

existing weir, constructed in 1910, clearly pre-<iates the ESA. Plaintiff must

provide some new evidence that the agencies' proposed action renders arbitrary the

agencies' course of action. Pyramid Lake, 898 F.2d at 1415. As noted previously,

the Ninth Circuit in Pyramid Lake upheld a federal agency's reliance on a faulty

biological opinion when the challenging party failed to bring forth any new

information that the agency should have considered in rendering the BIOp. fd. at

1416.

        Plaintiff focuses on the Irrigation District's yearly rocking of the weir.

Plaintiff has failed to demonstrate, however, how this action reduces

"reproduction, numbers, or distribution" of the species when the yearly rocking

maintains the status quo over the last 100-plus years. 50 C.F.R. § 402.02. FWS

determined that the rock debris field would still block passage for decades to come

even if the Irrigation District failed to perform the yearly rocking. NBOR0000043

n. 6. Plaintiffhas failed to present new information to demonstrate that the Bureau

and the Corps further jeopardize the pallid sturgeon through their yearly rocking of

Intake Darn.




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      This detennination derives from the assumption that the Corps and the

Bureau will complete the Project contemplated here. The Court will dismiss

Plaintiffs claims without prejudice to allow it to refile the claims in the event that

the Corps and the Bureau fail to follow through with their plan to develop the

Project with its new bypass channel.

   F. 	      Plaintiff's ESA challenge to the Corps' Operation and Maintenance
             of Fort Peck Dam proves moot at this stage.

          Plaintiff contends that the Corps's operation of the Fort Peck Dam violates

its ESA section 7 substantive duty to avoid jeopardy and violates its ESA section 9

prohibition against unpermitted take. Plaintiff alleges that these claims constitute

substantive violations of sections 7 and 9 of the ESA. Plaintiff insists that they do

not challenge either the Corps's failure to comply with section 7's procedural

obligation to complete consultation, or the merits of the 2003 BiOp.

      Federal Defendants argue that the Corps's re-initiation of consultation with

FWS on July 31, 2015, rendered "prudentially moot" Plaintiffs sections 7 and 9

claims. Federal Defendants further argue that the FWS's issuance of its new BiOp

on the Missouri River system will render these claims constitutionally moot.

FWS's new BiOp will supersede the 2003 BiOp.

      A federal court's jurisdiction is limited to cases or controversies. U.S. Const.

art. III, § 2. A claim will be deemed moot if it has lost its character as a present,

live controversy. Am. Rivers v. Nat '/ Marine Fisheries Serv., 126 F.3d 1118, 1124
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(9th Cif. 1997). The claim must be dismissed if an event occurs that prevents the

court from granting effective relief. Id.

       The agency's initiation of consultation under section 7(a)(2), triggers the

operation of section 7(d). 16 U.S.C. § J536(d). Section 7(d) provides that H[a]fter

initiation of consultation" an agency "shall not make any irreversible or

irretrievable commitment of resources" that would foreclose "the formulation or

implementation of any reasonable and prudent alternative measures which would

not violate subsection (a)(2)." Plaintiff does not argue, however, that the Corps has

violated section 7(d). Plaintiff has made no allegations that the Corps irreversibly

or irretrievably have committed resources that would preclude formulation of a

reasonable and prudent alternative.

      The administrative record demonstrates that the Corps re-initiated

consultation in July 2015. This re-initiation rendered prudentially moot the claims

against the Corps's operations of the Fort Peck Dam. Hunt v. Imperial Merchant

Servs., 560 F.3d 1137 (9th CiL 2009). These same claims will be rendered

constitutionally moot when FWS completes the consultation and issues its new

BiOp. Am. Rivers, 126 F.3d at 1124. Plaintiffs claims must be dismissed for lack

ofjurisdiction at this point.

      The Court notes that the 2000 BiOp contemplated a number of RP As that

could have allowed the Corps to comply with the ESA. NUSACE0028982-29014.


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The Corps failed to implement the RPAs contemplated by both the 2000 BiOp.

The Court further notes that the 2003 mop contemplated a number ofRPAs that

could have allowed the Corps to comply with the ESA. NUSACE0026464-86.

Once again the Corps failed to implement the RPAs contemplated by the 2003

BiOp. This record provides little comfort that the Corps will implement any RP As

that may arise from the 2015 re-initiation of consultation between the Corps and

FWS regarding the operation ofthe Fort Peck Dam. As noted previously, the Corps

and the Bureau have chosen instead to focus all their efforts, and associated

burdens, in attempting to comply with the ESA on the Intake Dam and the

proposed Project.

      The Court agrees that the Corps's actions have rendered moot Plaintiffs

claims regarding Fort Peck Dam at this time. The Corps and the Bureau cannot

continue to stall implementation ofRPAs described in each succeeding BiOp, and

avoid complying with the mandates of the ESA, as enacted by Congress, however,

simply by engaging in serial re-initiation of consultation to develop RP As that the

Corps and the Bureau have shown little appetite to implement. The day of

reckoning will come when the Corps and the Bureau must actually complete the

consultation process with the incorporation ofRPAs, as no one, including the

Corps and the Bureau, stands above the law.




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                                V. CONCLUSION

      For the foregoing reasons, IT IS ORDERED:

      Plaintiff's Motion for Summary Judgment (Doc. 172) on Claims 11-14 is

DENIED;

      Federal Defendants'/Intervenor Defendants' Cross-Motions for Summary

Judgment (Docs. 180 & 178) on Claims 11-14 are GRANTED;

      Plaintiff's request that the Court order the Bureau to finalize a plan to bring

its operation at Intake Dam into compliance with the ESA (Claims 4 & 5) is

DISMISSED WITHOUT PREJUDICE; and

      Plaintiff's request that the Court order the Corps to finalize a plan to bring

its operation of Fort Peck Dam into compliance with the ESA (Claims 1 & 2) has

been rendered moot and thereby is DISMISSED WITHOUT PREJUDICE.

      Dated this 20th day of July, 2018.




                                 Brian Morris
                                 United States District Court Judge




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